  Case 18-29862        Doc 8    Filed 10/24/18       Entered 10/24/18 13:52:41     Desc Main
                                   Document          Page 1 of 8

                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re                                                 )      Chapter 11
                                                      )
WOODLAWN COMMUNITY                                    )      Case No. 18-29862
DEVELOPMENT CORP., an Illinois                        )
not for profit corporation,                           )      Hon. Carol A. Doyle

                           NOTICE OF EMERGENCY MOTIONS

To: See Attached Service List

        YOU ARE HEREBY NOTIFIED that on October 25, 2018 at 10:00 a.m., or as soon
thereafter as counsel may be heard, I shall appear before the Honorable Carol A. Doyle, United
States Courthouse, 219 South Dearborn, Room 742, Chicago, IL, and then and there present the
following pleadings, which are available on the Court’s electronic docket and are attached hereto:

               a)      Motion of the Debtor for Entry of an Order Pursuant to Sections 105(a), 345
        and 363 of the Bankruptcy Code Authorizing the Debtor to Maintain and Use an Existing
        Payroll Account Solely For the Purpose of Disbursing its Bi Monthly Payroll; and

                 b)     Motion for Entry of an Order (I) Authorizing the Debtor to Pay or Honor
        Certain Pre-petition Obligations for (A) Wages, Salaries, Accrued Vacation, and Other
        Compensation, and (B) Employee Medical and Similar Benefits, and (Ii) Directing Financial
        Institutions to Honor All Related Checks and Electronic Payment Requests.


Dated: October 24, 2018
                                                      WOODLAWN COMMUNITY
                                                      DEVELOPMENT CORP., an Illinois not for
                                                      profit corporation

                                                      By:   /s/ David R. Herzog

David R. Herzog
Herzog & Schwartz PC.
Attorneys for Debtor
77 W. Washington St. #1400
Chicago, Illinois 60602
(312) 977-1600




                                               -1-
  Case 18-29862        Doc 8     Filed 10/24/18        Entered 10/24/18 13:52:41      Desc Main
                                    Document           Page 2 of 8

                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re                                                   )      Chapter 11
                                                        )
WOODLAWN COMMUNITY                                      )      Case No. 18-29862
DEVELOPMENT CORP., an Illinois                          )
not for profit corporation,                             )      Hon. Carol A. Doyle


                                      PROOF OF SERVICE

To:     See attached Service List

       The undersigned, an attorney, certifies that he caused to be served a copy of the
aforementioned instruments on the attached service list, via the manner indicated theron, on this 24th
day of October, 2018.



                                                        By:   /s/ David R. Herzog




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  Case 18-29862       Doc 8    Filed 10/24/18   Entered 10/24/18 13:52:41       Desc Main
                                  Document      Page 3 of 8


SERVICE LIST

VIA FAX

United States Trustee                            Illinois Department of Employment Security
219 South Dearborn Street                        Benefit Payment Control Division
Room 873                                         P.O. Box 4385
Chicago, IL 60604                                Chicago, IL 60680
Fax No. (312) 886-5794                           Fax No. (312) 793-6296

Applied Real Estate Analysis, Inc.               Illinois Department of Revenue
914 South Wabash                                 Bankruptcy Unit
Chicago, IL 60606                                P.O. Box 19035
Fax No. (312) 461-0015                           Springfield, IL 62794-9035
                                                 Fax No. (217) 524-0526
City of Chicago
Department of Finance - Utility Bills            Infinity HR
P.O. Box 6330                                    3905 National Dr., Suite 400
Chicago, IL 60680-6330                           Burtonsville, MD 20866
Fax No. (312) 744-4149                           Fax No. (240) 722-6360

City of Chicago                                  Insurance Company of the West
Department of Finance - Citations                c/o Law Offices of T. Scott Leo, P.C.
121 N. LaSalle Street                            1 N. LaSalle St., Suite 3600
P.O. Box 88292                                   Chicago, IL 60602
Chicago, IL 60602                                Fax No. (312) 857-1240
Fax No. (312) 744-4149
                                                 Internal Revenue Service
Chicago Housing Authority                        Centralized Insolvency Operation
60 E. Van Buren Ave.                             P.O. Box 7346
Chicago, IL 60605                                Philadelphia, PA 19101-7346
Fax No. (312) 913-7725                           Fax No. (855) 235-6787

Chicago Regional Council of Carpenters           IPFS Corporation
Pension Fund                                     462 South 4th St., #1700
c/o McJessy Ching & Thompson, LLC                Meldinger Tower
3759 N. Ravenswood, #231                         Louisville, KY 40202-2509
Chicago, IL 60613                                Fax No. (502) 561-9995
Fax No. (773) 880-1265
                                                 Jeffrey W. Henning
Geraldine Finkley                                Ziemer, Stayman, Weitzel & Shoulders,
c/o Conway Law Office PC                         LLP
77 W. Washington, #1113                          P.O. Box 916
Chicago, IL 60602                                Evansville, IN 47706-0916
Fax No. (312) 782-3552                           Fax No. (812) 421-5089
Glenview Financial Services                      Lakeside Bank
c/o Fisher Cohen Waldman Shapiro, LLP            1350 S. Michigan
1247 Waukegan Rd., #100                          Chicago, IL 60605
Glenview, IL 60025                               Fax No. (312) 225-0139
Fax No. (224) 260-3089
  Case 18-29862       Doc 8    Filed 10/24/18   Entered 10/24/18 13:52:41       Desc Main
                                  Document      Page 4 of 8


Laner Muchin                                     Synergy Coverage Solutions
515 North State Street, Suite 2800               217 South Tryron Street
Chicago, IL60654-4688                            Charlotte, NC 28202
Fax No. (312) 467-9479                           Fax No. (704) 927-2867

LM Insurance Corporation                         World Security Bureau
c/o The CKB Firm                                 c/o Lysinski & Associates PC
30 N. LaSalle St., #1520                         4418 N. Milwaukee Ave.
Chicago, IL 60602                                Chicago, IL 60630
Fax No. (312) 704-8515                           Fax No. (773) 777-5888

Local Initiatives Support Corporation            United Fidelity Bank, fsb
501 Seventh Avenue, 7th Floor                    Attn: Commercial Lending
New York, New York 10018                         18 N.W. Fourth Street
Fax No. (212) 687-1396                           Evansville, IN 47708
                                                 Fax No. (812) 421-2931
Maciorowski, Sackman, Ulrich, LLP
105 W. Adams St., #2200                          VIA EMAIL
Chicago, IL 60603
Fax No. (312) 627-0873                           Billy McGhee
                                                 Chicago, Illinois
Miner, Barnhill & Galland, P.C.                  b.mchgee@wcdc-chicago.org
325 N. LaSalle St., #350
Chicago, IL 60654
Fax No. (312) 751-0438

Municipal Elevator Services
c/o Frederick A. Lurie
123 N. Wacker, #250
Chicago, IL 60606
Fax No. (312) 553-0551

Neal & Leroy
20 S. Clark St., #2050
Chicago, IL 60603
Fax No. (312) 641-5137

Nixon Peabody LLP
799 9th Street NW, Suite 500
Washington, DC 20001-5327
Fax No. (202) 585-8080

Robert B Groholski/Zefreen Husain
Dykema Gossett PLLC
10 S. Wacker Dr., Suite 2300
Chicago, IL 60606
Fax No. (312) 876-1155

Supreme Technologies Group
814 E. 87th St.
Chicago, IL 60619
Fax No. (888) 802-4187
  Case 18-29862       Doc 8     Filed 10/24/18     Entered 10/24/18 13:52:41        Desc Main
                                   Document        Page 5 of 8


                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re                                                )      Chapter 11
                                                     )
WOODLAWN COMMUNITY                                   )      Case No. 18-29862
DEVELOPMENT CORP., an Illinois                       )
not for profit corporation,                          )      Hon. Carol A. Doyle
                                                     )
                      Debtor.                        )

 MOTION FOR ENTRY OF AN ORDER (I) AUTHORIZING THE DEBTOR TO PAY
OR HONOR CERTAIN PRE-PETITION OBLIGATIONS FOR (A) WAGES, SALARIES,
   ACCRUED VACATION, AND OTHER COMPENSATION, and (B) EMPLOYEE
     MEDICAL AND SIMILAR BENEFITS, AND (II) DIRECTING FINANCIAL
    INSTITUTIONS TO HONOR ALL RELATED CHECKS AND ELECTRONIC
                       PAYMENT REQUESTS

        WOODLAWN COMMUNITY DEVELOPMENT CORP. (“WCDC”), as debtor and

debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case, hereby moves the

Court pursuant to Sections 363(b), 363(c), 507(a)(4), 507(a)(5), 541(b), 1107(a), 1108, and

1129(a)(9)(B) of title 11 of the United States Code (the “Bankruptcy Code”) for entry of an

order, substantially in the form of the attached Exhibit A, (i) authorizing, but not directing, the

Debtor to pay in the ordinary course of business certain prepetition wages, salaries, other

compensation and employee medical and similar benefits and (ii) authorizing, but not directing,

the Debtor to honor employee medical and similar benefits, and (iii) directing financial

institutions to receive, process, honor, and pay all checks presented for payment and electronic

payment requests relating to the foregoing. In support of this Motion, the Debtor states as

follows:
  Case 18-29862       Doc 8     Filed 10/24/18       Entered 10/24/18 13:52:41      Desc Main
                                   Document          Page 6 of 8


                                        JURISDICTION

       1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding pursuant to 28 U.S.C. 157(b)(2). Venue is proper in this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        BACKGROUND

       2.      On October 22, 2018, (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtor is operating its business and

managing its property as a debtor in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. As set forth in the Declaration of Dr. Leon Finney, Jr., CEO of WCDC, in

Support of First Day Pleadings (the “Finney Declaration”), the Debtor has operated an Illinois

not for profit community based organization which has owned and managed low and moderate

income housing primarily on the south side of Chicago.. Additional information regarding the

Debtor is set forth in the Finney Declaration, which is incorporated herein by reference.

       3.      In connection with its operations, the Debtor employs approximately 177

employees (collectively, the “Employees”).

       4.      The Employees perform a wide variety of functions that are critical to the

Debtor’s operations. Additionally, the Employees’ skills and knowledge are essential to an

effective reorganization of the Debtor’s business.

       5.      Debtor pays it employees on a bi-monthly basis. The next payroll is scheduled

for October 30, 2018. Because the Debtor filed its voluntary petition on October 24, 2018,

employees will be entitled to compensation based, in part, on prepetition work and expenses.

With respect to each employee, none of the pre-petition wages exceed the sum of $12,850. A

copy of the payroll expenses for the upcoming payroll is attached hereto as Exhibit “B”.
  Case 18-29862         Doc 8     Filed 10/24/18     Entered 10/24/18 13:52:41        Desc Main
                                     Document        Page 7 of 8


                                BASIS FOR RELIEF REQUESTED

       6.      To avoid a disruption in its workforce, the Debtor seeks authority, but not

direction, to (i) pay Employees any pre-petition Wages which do not to exceed the aggregate

amount of $12,850, (ii) pay Employees standard Benefits, whether accrued pre-petition, and (iii)

forward any amounts due on account of pre or post-petition Withholding to any applicable taxing

authorities or other third party recipients, as applicable.

       7.      Additionally, the Debtor requests that financial institutions be directed to receive,

process, honor, and pay all checks presented for payment and electronic payment requests related

to the foregoing, regardless of whether issued pre or post-petition.

       8.      The ability to compensate the Employees in the ordinary course of business is

critical to the Debtor’s reorganization efforts. Additionally, this relief is consistent with sections

363(c) and 1108 of the Bankruptcy Code, which authorize the continued operation of the Debtor

in the ordinary course of business. This relief has been routinely entered in this district. See,

e.g., In re Neumann Homes, Inc., No. 07-20412 (Bankr. N.D. Ill. Nov. 21, 2007), In re Enesco

Group, Inc., No. 07-00565 (Bankr. N.D. Ill. Jan. 12, 2007), In re Serv. Web Offset Corp., No.

06-16700 (Bankr. N.D. Ill. Dec. 21, 2006).

       9.      The Debtor believes that the above-referenced items would be entitled to

administrative priority under sections 507(a)(4) and (a)(5) of the Bankruptcy Code.

Accordingly, payment of the items set forth herein would not be extraordinary or inappropriate.

       10.     Turnover of the Withholding is also required by applicable non-bankruptcy law.

       11.     If the Employees do not receive the payments contemplated herein, the Debtor

risks an immediate disruption in its workflow, which could compromise the value of the estate

and adversely affect the Debtor and its creditors.

       12.     The Debtor has the ability to pay all of the obligations described herein in the

ordinary course of business. Additionally, under the Debtor’s existing cash management system,
  Case 18-29862        Doc 8     Filed 10/24/18     Entered 10/24/18 13:52:41        Desc Main
                                    Document        Page 8 of 8


the Debtor has the ability to readily identify all obligations described herein and therefore ensure

that only those obligations that are appropriate are honored.

                                     IMMEDIATE EFFECT

       13.     The Debtor requests that any order granting the relief sought herein be effective

immediately and that the stay imposed by Federal Rule of Bankruptcy Procedure 6004(g) be

waived.

                                    REQUEST FOR RELIEF

       WHEREFORE, the Debtor respectfully requests that the Court enter an order

substantially in the form of the attached Exhibit A (i) authorizing, but not directing, the Debtor to

pay in the ordinary course of business certain prepetition wages, salaries, other compensation,

(ii) authorizing, but not directing, the Debtor to honor employee medical and similar benefits,

(iii) directing financial institutions to receive, process, honor, and pay all checks presented for

payment and electronic payment requests relating to the foregoing, and (iv) granting such other

relief as the Court deems just and appropriate.


Dated: October 24, 2018.                              WOODLAWN COMMUNITY
                                                      DEVELOPMENT CORP.



                                                      By: /s/ David R. Herzog
                                                              One of its attorneys




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